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                                    UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

    United States of America, ex rel. Jeffrey
    Wilkerson and Larry Jackson, et al.,

         Plaintiffs-Relators,
                                                       No. 22 CV 3013
    v.
                                                       Judge Lindsay C. Jenkins
    Allergan Limited f/k/a Allergan PLC, et al.,

         Defendants.


                                  MEMORANDUM OPINION AND ORDER

           Relators Jeffrey Wilkerson and Larry Jackson were pharmaceutical sales

representatives for Allergan USA, Inc. (“Allergan”), 1 the manufacturer of two

gastrointestinal drugs, Linzess and Viberzi. They allege that while working for

Allergan they learned that it was engaged in a nationwide scheme to provide illegal

kickbacks to doctors in exchange for prescribing more Linzess and Viberzi. Relators

filed this qui tam suit on behalf of the United States under the False Claims Act

(“FCA”), 31 U.S.C. §§ 3729-3733; on behalf of several states under analogous statutes;

and on behalf of two states under insurance fraud statutes. [Dkt. 173.] Relator




1      The parties previously stipulated with respect to the Third Amended Complaint
(“3AC”) that Allergan, USA would accept service on behalf of Allergan Limited, obviating
Allergan Limited’s responsibility to answer the 3AC. [Dkt. 142.] While there is no equivalent
stipulation on the docket with respect to Relators’ Fourth Amended Complaint, based on the
parties’ prior representations and failure to raise this issue during the briefing of the motion
to dismiss, the Court assumes Relators have agreed to excuse Allergan Limited from
answering the complaint for the time being. However, both entities must timely answer the
complaint in light of the partial denial of Allergan’s motion to dismiss.
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Jackson also brought a claim alleging that Allergan unlawfully terminated his

employment in retaliation for reporting FCA violations.

         Now on their Fourth Amended Complaint (“4AC”), Relators press two theories.

The first is that Allergan’s payment of kickbacks to doctors resulted in false claims

for prescriptions being presented to the government for payment. The second theory

is that Allergan violated the FCA by causing others to falsely certify compliance with

the Anti-Kickback Statute (“AKS”) in conjunction with Linzess and Viberzi

prescriptions.

         Allergan moves to dismiss the operative 4AC complaint for failure to state a

claim upon which relief may be granted. [Dkt. 176]; Fed. R. Civ. P. 12(b)(6). For the

reasons explained, its motion is granted in part and denied in part.

I.       Background
         A.     Statutory Framework
         The FCA, 31 U.S.C. §§ 3729-3733, prohibits the submission of false claims for

payment to federal health care programs. As relevant here, a person violates the FCA

when he:

         (A) knowingly presents, or causes to be presented, a false or fraudulent claim
         for payment or approval;
         (B) knowingly makes, uses, or causes to be made or used, a false record or
         statement material to a false or fraudulent claim; [or]
         (C) conspires to commit a violation of [the FCA] ….


§ 3729(a)(1). The FCA defines “claim” as “any request or demand … for

money … that … is presented to an officer, employee, or agent of the United States.”

§ 3729(b)(2)((A). Relators’ state statutory claims prohibit similar conduct. [Dkt. 173,

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Counts V–XXXVI.]; cf. Thulin v. Shopko Stores Operating Co., LLC, 771 F.3d 994,

996–97 (7th Cir. 2014).

       The AKS prohibits soliciting, receiving, offering, or paying any “remuneration”

in exchange for referring a patient for services that are reimbursed by a federal health

care program, such as Medicare. 42 U.S.C. § 1320a–7b(b). In 2010, the AKS was

amended to, among other things, provide that “a claim that includes items or services

resulting from [an AKS violation] constitutes a false or fraudulent claim for purposes

of [the FCA].” § 1320a–7b(g); § 3729(a)(1)(A). The Court refers to this theory of

liability as the “false claim” theory.

       The FCA can also be violated through express or implied false certifications of

compliance. United States v. Molina Healthcare of Illinois, Inc., 17 F.4th 732, 741 (7th

Cir. 2021); Universal Health Servs., Inc. v. Escobar, 579 U.S. 176, 186-87 (2016).

Entities, including doctors and pharmacies, seeking reimbursement from Medicare,

must certify compliance with federal laws, including the AKS. If certifications, either

express or implied, falsely represent compliance with the AKS in conjunction with a

claim submitted for payment, the entity that submitted or caused the submission of

the false certification may be liable under § 3729(a)(1)(B). United States v. Walgreen

Co., 417 F. Supp. 3d 1068, 1085 (N.D. Ill. 2019); Escobar, 579 U.S. 176, 186-87. This

is Relators’ “false certification” theory of liability.




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        B.    Factual Overview 2

        Allergan, a pharmaceutical company headquartered in New Jersey, markets

and sells the two drugs at issue: Linzess and Viberzi. [Dkt. 173 ¶ 22.] Relators worked

for Allergan and its predecessor, Actavis Pharma, Inc., as sales representatives

within the Gastroenterology Group—Jackson from 2013 to 2017 and Wilkerson from

2013 to 2016. [Id. ¶¶ 29–30.] Each Relator was responsible for a portion of Allergan’s

geographic territory: Jackson covered Tulsa, Oklahoma; Northwest Arkansas; and

Southwest Missouri, while Wilkerson oversaw West Tennessee and North

Mississippi. [Id.]

        Linzess, a brand name for linaclotide, is a prescription medication that treats

two chronic constipation disorders: irritable bowel syndrome with constipation (“IBS-

C”) and chronic idiopathic constipation. [Id. ¶ 107.] Linzess launched in the United

States in December 2012. [Id. ¶ 108.] Actavis acquired the company that produced

Linzess in July 2014; Allergan, in turn, acquired Actavis in March 2015. [Id. ¶¶ 108–

09.] Viberzi is an opioid with the active ingredient eluxadoline which is used to treat

irritable bowel syndrome with diarrhea (“IBS-D”). [Id. ¶ 112.] Allergan acquired

eluxadoline in July 2014; the FDA approved Viberzi in May 2015, and it became

available in December of that year. [Id. ¶ 113–15.]




2       The following factual allegations are taken from Relators’ 4AC and are accepted as
true for purposes of the motion to dismiss. Smith v. First Hosp. Lab’ys, Inc., 77 F.4th 603,
607 (7th Cir. 2023). In setting forth the facts at the pleading stage, the Court does not vouch
for their accuracy. See Goldberg v. United States, 881 F.3d 529, 531 (7th Cir. 2018).

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        Linzess and Viberzi are more expensive than over-the-counter alternatives.

[Id. ¶¶ 110–11, 116–17.] Viberzi is allegedly “not a drug to be taken lightly” as it may

cause serious side effects and is susceptible to “dangerous recreational use and

abuse.” [Id. ¶¶ 120–23.]

        The federal government administers two subsidized health care programs that

are relevant to this dispute: Medicare and Medicaid. Medicare is available to persons

at least 65 years old and to disabled persons; Medicare Part D covers prescription

drugs. [Id. ¶¶ 82–83.] Medicare contracts with private entities to provide Part D

insurance. [Id. ¶ 83.] Claims submitted to Medicare are paid by the federal

government. [See id. ¶¶ 37, 224, 285.]

        Medicaid is a joint federal-state program that provides health care benefits

primarily to poor and disabled persons; it also includes prescription drugs. [Id. ¶¶ 86–

87.] Similar to Medicare, private companies administer the program. [Id. ¶ 87.]

Payment for claims submitted to Medicaid are shared by the federal and state

governments. [See id. ¶ 87–89.] 3

              1.     The False Claim Kickback Scheme

        Relators allege that when Allergan launched Viberzi in late 2015, it “devised a

scheme” to provide illegal kickbacks to physicians through a speaker program that

Relators call the “Speaker Bureau.” [Id. ¶¶ 29, 128–29.] The official purpose of the

Speaker Bureau was to educate health care providers about Linzess and Viberzi. [See

id. ¶¶ 226, 232.] According to Relators, its true “purpose and intent” “was to give


3      The 4AC mentions other federal health care programs, [id. ¶¶ 91–93], but because the
parties’ briefs do not discuss them, neither does the Court.
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physicians cash, food, alcohol, travel expenses, and other illegal remuneration to

induce them to prescribe Allergan drugs, and to cause other physicians to prescribe

those drugs.” [Id. ¶ 129.] 4 Relators allege that Allergan implemented its speaker

scheme nationwide, causing millions of dollars in losses by the federal government

and several states. [Dkt. 173 ¶ 130–31.]

        Allergan held over 8,000 speaker events between 2015 and 2017. [Id. ¶¶ 142–

44.] There were two types of events. For “in-office” events, a speaker physician and

an Allergan sales representative would visit a health care provider’s office, provide

refreshments, and (ostensibly) present educational materials about Linzess and

Viberzi. [Id. ¶¶ 161–62.] “Out-of-office” events were “dinner parties,” often at “up-

scale restaurants.” [Id. ¶ 165.] Medical providers would join speaker physicians and

sales representatives for meals paid for by Allergan, where the speakers purported to

educate guests. [Id. ¶¶ 165–66.] Allergan required a minimum number of positive

RSVPs to hold speaker events: two “prescribers” or “dispensers” for in-office events;

four RSVPs, three of whom were prescribers or dispensers, for out-of-office events.

[Id. ¶¶ 228–29.]

        While Allergan’s official policy imposed a $150 per person cap on food and

alcohol for these events, Allergan routinely disregarded this limit and permitted

speakers and attendees to spend far more. [Id. ¶ 167.] In addition to the food and

alcohol budget, Allergan paid speakers $1,000-$3,500 per speaker event, plus

reimbursement for travel and lodging. [Id. ¶¶ 163–66, 233.] If an event was cancelled


4     Some of the speakers were not doctors. [E.g., dkt. 65 ¶ 143.] Short-form references to
speakers as “physicians” or “doctors” include all speakers.
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shortly before being held, or if there were fewer attendees than the number of RSVPs

required to schedule the event, Allergan still paid the speakers. [Id. ¶¶ 232, 237, 239,

241, 249.] Relators allege that Allergan’s practice of paying speakers their full fee for

cancelled events is inconsistent with other pharmaceutical companies. [Id. ¶17.]

   Relators identify several features of the Speaker Bureau which they contend

demonstrate its fraudulent purpose [Id. ¶ 232]:

   •   District and regional managers instructed sales representatives to focus on
       bringing high-volume prescribers into the Speaker Bureau; speakers were
       retained or removed based on prescription volume. [Id. ¶¶ 149–55.]
   •   Sales representatives’ compensation was based on physicians’ prescription
       volume; they were rewarded when they met or exceeded quotas and fired if
       they failed to meet quotas. [Id. ¶¶ 133–36, 138, 153.]
   •   Often, Speaker Bureau events had little or no educational content. [Id. ¶ 166.]
   •   Managers emphasized that the Speaker Bureau had an RSVP requirement,
       not an attendance requirement, encouraged sales representatives to consider
       noncommittal statements as positive RSVPs, and did not care if events were
       under-attended or cancelled. [Id. ¶¶ 231, 237, 239–41.]
   •   Allergan knew about the under-attendance problem because the number of
       attendees was reported through a platform called “IntraMed.” [Id. ¶ 236.]
   •   Managers instructed salespeople to falsify attendance records. [Id. ¶ 234.]
   •   Allergan did not criticize or discipline salespeople who organized under-
       attended or cancelled events. [Id. ¶¶ 232, 237, 238–42, 248–49.]


In total, Relators allege there were over 2,000 “sham” events, which they define as

events that were cancelled in advance or were unattended or under-attended, that is,

attended only by the speaker and Allergan sales representative. [Id. ¶¶ 242–47.]

       Relators offer more specific allegations about some speakers. The first is Dr.

Paul Bierman, a gastroenterologist based in Memphis. The local district sales team

identified Dr. Bierman as a “high-prescriber who could be guaranteed to produce a

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high volume of Viberzi prescriptions.” [Id. ¶ 152.] Relator Wilkerson and Dr. Bierman

attended an in-office event in January 2016, at which “Dr. Bierman made no formal

presentation and did not provide any educational information, but instead simply

shook hands with Dr. Cary Finn and made small talk. Then, just before leaving, Dr.

Bierman briefly stated that he thought Dr. Finn should prescribe Viberzi and

Linzess.” [Id. ¶ 164.] Wilkerson told his district manager Alan Foust, about the

cursory nature of Dr. Bierman’s in-office events including that “Dr. Bierman routinely

declined to present the Allergan PowerPoint presentation.” [Id.] Foust allegedly

instructed Wilkerson to falsify documents to reflect that Dr. Bierman provided the

required information and that Dr. Finn and his staff attended the presentation. [Id.]

      Foust also told Wilkerson to convey to Dr. Bierman that the “payment of

speaker fees was specifically conditioned upon Bierman increasing his prescription of

Allergan drugs.” Wilkerson and fellow sales representative Frank Adcock delivered

this message in January 2016. [Id. ¶¶ 170–71.] Dr. Bierman acknowledged the quid

pro quo and agreed to increase his prescriptions of Viberzi. [Id. ¶ 172.] Another sales

representative, Will Fogelman, described Dr. Bierman as “the largest prescriber of

Viberzi in the West Tennessee territory” and also referenced the quid pro quo. [Id.

¶ 177; see also id. ¶¶ 178–80.]

      Relators allege that Allergan’s payments to Dr. Bierman for nearly 100

Speaker Bureau events induced him to write approximately 517 prescriptions of

Linzess and Viberzi for Medicare patents. [Id. ¶ 187.] Further, as Allergan knew

would occur, Dr. Bierman’s prescriptions for Linzess and Viberzi were presented to



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pharmacies, claims for the prescriptions were submitted to Medicare and, as a result,

Medicare paid approximately $269,000. [Id. ¶ 188.]

       Relators also highlight the prescribing pattern of Nurse Practitioner Chantil

Jeffreys. Jeffreys, from the Memphis area, was recruited as a speaker in 2017 after

her Linzess prescriptions increased. [Id. ¶¶ 190–91.] Relators allege that “[t]his

increase led Allergan to anticipate Ms. Jeffreys could be a valuable speaker-

prescriber,” so she was added to the Speaker Bureau. [Id. ¶ 191.] But when her

Linzess prescription volume did not increase further, Allergan terminated her as a

speaker. [Id.] Relators allege that Allergan terminated 136 speaker-physicians from

the Speaker Bureau in 2016 because Allergan viewed them as “low-prescribers.” [Id.

¶ 160.]

       Another speaker, Dr. Daniel Kayal, joined the program in late 2015; he

remained in the Speaker Bureau as he increased his Linzess prescriptions and began

to prescribe Viberzi. [Id. ¶¶ 193–95.] Prior to being added to the Speaker Bureau,

Kayal wrote 52 prescriptions for Linzess to Medicare Part D beneficiaries. [Id. ¶ 193.]

In 2016, Allergan paid Kayal for 13 events, and his Linzess prescriptions rose to 103.

[Id. ¶ 195.] In 2017, Allergan paid him for 9 events and he wrote 86 prescriptions; in

2018, Allergan paid Kayal for 5 events, and he wrote 44 prescriptions for Linzess and

20 for Viberzi. [Id.]

       Dr. Joseph Hathaway, of Statesboro, Georgia wrote 36 Linzess prescriptions

for Medicare Part D beneficiaries in 2015 before being added to the Speaker Bureau.

[Id. ¶ 201.] In 2016, Allergan paid him for 24 Speaker Bureau events and he wrote



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184 prescriptions for Linzess. [Id.] The pattern continued: in 2017, Allergan paid

Hathaway for 27 events and his prescriptions rose to 395; in 2018, Hathaway was

paid for 14 speaker events and his prescriptions for Linzess increased to 470. [Id.]

        Relators offer another example: Dr. Jack Braha of Brooklyn, New York. [Id.

¶ 204.] In 2015, before Braha joined the Speaker Bureau, he wrote 23 Linzess

prescriptions for Medicare Part D beneficiaries. [Id.] In 2016, Allergan paid Braha

for 9 events, and he wrote 137 prescriptions for Linzess. [Id.] In 2017 and 2018,

Allergan paid Braha for 11 and 9 events, respectively, and Braha wrote 158

prescriptions for Linzess each year. [Id.]

        The prescription rate of Dr. Asif Quadri of Athens, Georga, also increased after

he joined the Speaker Bureau. [Id. ¶ 208.] Before receiving payments from Allergan,

he wrote 59 prescriptions for Linzess. [Id.] Once the Speaker Bureau payments began

in 2016, his prescription rate increased to 144 prescriptions in 2016, 256 prescriptions

in 2017, and 267 prescriptions in 2018. [Id.] Relators identify the same pattern for (1)

Dr. Nikhil Agarwal of San Franscisco whose prescription rates for Linzess rose from

18 before joining the Speaker Bureau to 59 in 2016 and 172.5 in 2017 [id. ¶ 211]; (2)

Dr. Jamal Qureshi of Milwaukee, Wisconsin whose prescription rates for Linzess rose

from 107 before joining the Speaker Bureau to 262 in 2016 and 276 in 2017 [id. ¶ 214];

and (3) Dr. Thomas Tran of Dennison, Texas whose prescription rates for Linzess rose

from 109 before joining the Speaker Bureau to 234 in 2016 and 320 in 2017 [id.

¶ 217]. 5


5      Relators’ 4AC includes similar allegations about other prescribers, aimed at showing
that Allergan’s payment of speaker fees caused an increase in these doctors’ prescription
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       Relators contend that in 2016 and 2017 Allergan paid over $12 million to

members of the Speaker Bureau. [Id. ¶ 284.] During the same time period, the federal

government, through the Medicare Part D program, paid over $39 million for

prescriptions of Viberzi and Linzess written by doctors receiving kickbacks from

Allergan. [Id.]

       The data Relators cite in their complaint comes from Centers for Medicare and

Medicaid Services (“CMS”) claims. [Id. ¶¶ 35–36.] CMS publishes Medicare Part D

data which shows prescriptions written by each participating provider. [Id. ¶ 36.] The

federal government also reports claims paid by Medicaid which includes the number

of claims for each drug, the number of units paid for, and the amounts paid. [Id. ¶ 37.]

Relators rely on that data as well, which purports to show, at the national-level,

significant increases in amounts paid by Medicaid between 2016 and 2018 for Linzess

and Viberzi. [Id.] That data reveals that the overall volume of claims paid by

Medicare for Linzess increased in 2016 by 42%. [Id. ¶ 199.]

       Relators also rely on a ProPublica 2019 study analyzing the CMS data and

looking specifically at Allergan’s payments to doctors for Linzess. [Id. ¶ 221.] Relators

cite the results of the study: that doctors who received payments related to Linzess

in 2016 wrote 45% more prescriptions for the drug, on average, than doctors who

received no payments. [Id.] The study also found that the average number of Linzess

prescriptions for Medicare beneficiaries submitted by doctors who took no money at

all from Allergan was 26; in contrast, doctors who took any remuneration at all, even


rates for Linzess and, therefore, resulted in claims paid by Medicare. [Id. ¶¶ 258, 261, 264,
267, 270, 273, 276, 279.]
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just a free meal, prescribed an average of 49 prescriptions for Linzess. [Id.] Looking

specifically at Speaker Bureau payments in 2016 though, Relators allege that

Allergan documents and CMS data reveals that Speaker Bureau physicians averaged

69.56 prescriptions in 2016 which is 167% of the number written by doctors who

received no remuneration at all from Allergan. [Id. ¶ 222.] 6

               2.      False Certification Theory

        Relators’ 4AC includes allegations concerning false certifications of compliance

with the AKS. Relators allege that every recipient of Medicare payments, including

pharmaceutical      manufacturers,    private    insurance    companies,    doctors,   and

pharmacies, executes certifications of compliance with all applicable laws, including

the AKS. [Id. ¶ 7.]7

        Part D sponsors—private insurance companies that contract to provide

prescriptions to persons on Medicare and Medicaid— “must certify in their contracts

that they agree to comply with all federal laws and regulations designed to prevent

fraud, waste and abuse.” [Id. ¶ 58.] Relators do not explain the content of any

certification nor do they identify any private insurance companies that made

certifications relevant to this dispute.

        Physicians certify compliance for Medicare and Medicare Part D purposes

through a provider agreement, Form 1500, and Form CMS-855O. [Id. ¶¶ 53, 56.] For


6      Relators also cite a “recent meta-study published in the Annals of Internal Medicine”
purporting to show “a causal relationship … between receipt of a payment and an increase of
prescriptions.” [Id. ¶ 223.]
7      Relators’ only allegation regarding the certification made by pharmaceutical
manufacturers concerns the Medicaid Rebate program. [Id. ¶ 53.] Because the Medicaid
Rebate program is not at issue in this lawsuit, the Court does not consider it.
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Medicaid, physicians certify compliance with the AKS via Form CMS-855I. [Id. ¶ 55.]

Relators allege that these certifications are required in order for physicians to receive

payment “for providing physician services.” [Id. ¶ 56.] They also allege that

physicians’ certifications are necessary “to prescribe and have Medicare pay for

prescriptions.” [Id. ¶ 55.] However, Relators don’t allege that physicians make any

certification in conjunction with writing a prescription or that physicians receive any

payment from Medicare or Medicaid for writing prescriptions. Further, Relators do

not assert FCA liability for “physician services.”

      Pharmacies that dispense prescriptions also enter into Provider Agreements

with CMS to establish their eligibility to seek payment through Form 885S. [Id.

¶¶ 54, 59.] Further, CMS regulations require that subcontracts between pharmacies

and Part D sponsors contain certifications of compliance with the AKS. [Id. ¶ 60.]

      According to Relators, Allergan’s kickback payments caused prescribers’ and

pharmacies’ certifications of compliance with the AKS to be materially false. [Id. ¶¶

7, 9.] They contend that every physician who prescribed Linzess and Viberzi for

Medicare patients—including those specifically identified—must have executed these

required certifications to receive payment from Medicare. [Id. ¶¶ 19, 56.] Allergan

was also allegedly aware that the pharmacies dispensing the at-issue medications

were required to certify compliance with the AKS. [Id. ¶ 19.] Relators allege that

compliance with the AKS is a material requirement to receive payment from

government health care programs. [Id. ¶ 61.]




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      In addition to the express certifications discussed above, Relators allege that

when a party submits a claim for payment they implicitly certify compliance with all

conditions of payment. [Id. ¶ 67.] As a result, Relators assert that all claims for

payment for Linzess and Viberzi prescriptions written while prescribing doctors were

receiving kickbacks from Allergan are false because, in association with each

prescription, the submitting party failed to disclose violation of the AKS. [Id. ¶ 68.]

Relators do not explain which of the entities discussed submit claims for payment to

the government, however. Relators also do not identify any implicitly false

certification made in conjunction with a request for payment.

II.   Legal Standards

      A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the

complaint. See Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 736 (7th Cir.

2014). The Court accepts well-pleaded factual allegations as true and draws all

reasonable inferences in Relators’ favor. Smith, 77 F.4th at 607. To survive a motion

to dismiss, a complaint must contain sufficient factual information to “state a claim

to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007). A claim is facially plausible when “the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “Threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements, do not

suffice.” Id. A claim lacks facial plausibility “if there is an ‘obvious alternative

explanation’ for the complaint’s factual allegations.” Alarm Detection Sys., Inc. v.


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Village of Schaumburg, 930 F.3d 812, 821 (7th Cir. 2019) (citations omitted) (quoting

Iqbal, 556 U.S. at 682).

        Rule 9(b)’s heightened pleading standard applies to fraud-based claims under

the FCA and analogous state statutes. United States ex rel. Berkowitz v. Automation

Aids, Inc., 896 F.3d 834, 839 (7th Cir. 2018); see Thulin, 771 F.3d at 995. Rule 9(b)

requires pleading with particularity, meaning that Relators “must describe the ‘who,

what, when, where, and how’ of the fraud—the first paragraph of any newspaper

story.” Berkowitz, 896 F.3d at 839 (cleaned up). “What constitutes ‘particularity’ …

may depend on the facts of a given case,” but Relators must “use some … means of

injecting precision and some measure of substantiation into their allegations of

fraud.” Id. at 839–40 (cleaned up). This means that pleading on “information and

belief” will seldom suffice. See Pirelli Armstrong Tire Corp. Retiree Med. Benefits Tr.

v. Walgreen Co., 631 F.3d 436, 442–43 (7th Cir. 2011).

III.    Count I: False Claim Theory

        An FCA false claim theory based on an illegal kickback scheme requires a

relator to allege violations of both the AKS and FCA.

        A.     AKS Violation

        In its motion to dismiss Relators’ 4CA, Allergan incorporates by reference the

arguments made in its motion to dismiss Relators’ 3AC. [Dkt. 177 at 8.]8 While it




8    Citations to docket filings generally refer to the electronic pagination provided by
CM/ECF, which may not be consistent with page numbers in the underlying documents.

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maintains its disagreement with the Court’s prior ruling, Allergan does not

separately challenge it. [Id.]

      As explained in the prior order granting Allergan’s motion to dismiss Relators’

3AC, Relators alleged that Allergan engaged in illegal kickbacks through its Speaker

Bureau program. [Dkt. 164 at 24, 30.] In brief, compensation in the form of speaker

fees, food, drink, and travel qualify as “any remuneration,” § 1320a–7b(b)(2), as long

as any part of the remuneration was paid to induce the speaker doctors to write more

prescriptions. See United States v. Borrasi, 639 F.3d 774, 780–82 (7th Cir. 2011)

(rejecting the argument that the “primary motivation” of payment of remuneration

must be to induce referrals and holding that “if part of the payment compensated past

referrals or induced future referrals, that portion of the payment violates” the AKS);

United States v. Sorensen,—F.4th—, 2025 WL 1099080, at *5 (7th Cir. Apr. 14, 2025).

      Relators contend that Allergan knowingly and willfully offered remuneration

in an effort to cause doctors in the Speaker Bureau to write more prescriptions for

Linzess and Viberzi. [Dkt. 173 ¶¶ 29, 128–29.] The allegations in Relators’ 4AC are

sufficient to support the inference that Allergan operated the Speaker Bureau

program at a national level and that the program operated, at least in part, as a

system to funnel payments to physicians in exchange for prescriptions for Allergan

drugs. [Id. ¶ 129.] As a result, Relators surpassed the first hurdle, stating an AKS

violation.




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      B.     FCA Violation

      The 2010 Amendment to the AKS provides that “a claim that includes items or

services resulting from a violation of this section constitutes a false or fraudulent

claim for purposes of [the FCA].” § 1320a-7b(g). Relators can state an FCA claim

through this subsection by alleging that, as a result of Allergan’s kickback scheme, a

false claim was submitted to the government for payment. § 3729(a)(1)(A).

             1.     Causation

      A circuit split exists on the meaning of “resulting from.” Three circuits—the

Eighth, Sixth, and First—hold that “resulting from” requires allegations (and

eventually proof) of but-for causation. One—the Third Circuit—espouses a less

demanding “exposed to” standard.

      In their 3AC, Relators advocated for a taint theory: that every Linzess and

Viberzi prescription written by physicians who received kickbacks are false claims

because they are “tainted” by the illegal kickbacks. The Court disagreed with

Relators’ reading of United Sates v. Teva Pharmaceuticals USA, Inc., 2019 WL

1245656, at *21 (S.D.N.Y. Feb. 27, 2019) as supporting that theory. Now, in their 4AC

Relators focus on the Third Circuit’s opinion in Greenfield v. Medco Health Solutions

which held that “resulting from” requires some “link” but not “but for” causation. 880

F.3d 89, 98 (3d Cir. 2018).

      After examining the context for the passage of the 2010 Amendment to the

AKS, the Greenfield court concluded that it was most appropriate to “requir[e]

something less than proof that the underlying medical care would not have been



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provided but for a kickback.” Id. at 96. Because “Congress passed § 1320a-7b(g) in

2010 as part of an overall effort to strengthen whistleblower actions … and … ensure

that all claims resulting from illegal kickbacks are considered false claims for the

purpose of civil actions under the False Claims Act,” the Third Circuit concluded that

interpreting “resulting from” to require but-for causation would be “inconsistent with

the drafters’ intentions.” Id. (cleaned up).

      The Greenfield court was also concerned that requiring but-for causation

“would lead to the incongruous result” where a defendant could be criminally

convicted under the AKS but “insulated from civil False Claims Act liability for the

exact same conduct.” Id. (cleaned up). Still, at the summary judgment stage,

Greenfield rejected the contention that “a temporal connection” between the AKS

violation and submission of claims was sufficient to maintain an FCA claim based on

the 2010 amendment. Id. at 98. The Court demanded “evidence of the actual

submission of a false claim.” Id.

      On the other side of the divide, the Eight Circuit in United States ex rel. Cairns

v. D.S. Medical LLC, performed an analysis that “both beg[an] and end[ed] with the

[statutory] text.” 42 F.4th 828, 834 (8th Cir. 2022). Leaning on the Supreme Court’s

decision in Burrage v. United States, 571 U.S. 204, 211 (2014), interpreting similar

language in the Controlled Substances Act, as well as dictionary definitions, the

Cairns court had “little trouble concluding” that “resulting from” demands but-for

causation. Id. at 834–35. It rejected the government’s proposed alternative causation

standards—“taint” or “contributing factor”—as “hardly causal at all.” Id. at 835. After


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all, the court explained, “‘taint’ could occur without the illegal kickbacks motivating

the inclusion of any of the ‘items or services.’” Id. The upshot is that, at trial, “the

government had to prove that the defendants would not have included particular

‘items or services’ absent the illegal kickbacks.” Id.

      The Sixth Circuit in United States ex rel. Martin v. Hathaway similarly

rejected legislative history and concluded Congress’s use of “resulting from” was

“unambiguously causal.” 63 F.4th 1043, 1053–54 (6th Cir. 2023), cert. denied, 144 S.

Ct. 224 (2023). In reaching that conclusion, the Sixth Circuit also rejected the notion

that “[t]emporal proximity by itself … show[s] causation.” Id. at 1053. Just because

the kickback scheme operated at the same time claims were submitted for

reimbursement does not necessarily establish causation. Id. Ultimately, the Court

concluded that, “[a] faithful interpretation of … ‘resulting from’ … still leaves plenty

of room to target genuine corruption.” Id. at 1055.

      The First Circuit recently joined the Sixth and Eighth in holding that

“resulting from” demands but-for causation. It also began with the Burrage decision,

recognizing that “‘resulting from’ is read as calling for but-for causation in ‘the usual

course.’” (quoting Univ. of Tex. Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 346 (2013)).

Unlike Greenfield, the Regeneron court found nothing odd about a criminal AKS

violation requiring a lesser causation standard than an FCA violation: “the mere fact

that one liability is built on another says nothing about whether any additional

elements are required to establish the subsequent liability.” Id. at 331.




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       It also disagreed that “the addition of a causation element in the 2010

amendment [rendered] the AKS [] less able to pursue its ‘animating principle.’” Id. at

331. Because criminal AKS liability exists “to protect patients from doctors whose

medical judgments might be clouded by improper financial considerations … it makes

sense for the AKS to criminalize even those kickbacks that do not ultimately cause a

referral or purchase.” Id. at 332. In contrast, since “the chief purpose” of civil FCA

liability “is to provide restitution to the government of money taken from it by fraud,”

it makes sense that a claim is only “false” for FCA purposes “when a kickback is the

cause of that claim’s submission to the government.” Id. (cleaned up). Finally, the

First Circuit emphasized, contrary to Greenfield’s reasoning and in-line with the

Sixth Circuit’s, that even with but-for causation, the 2010 AKS amendment

strengthened FCA claims by providing an additional pathway for liability that did

not require proof of false certifications. Id. at 335.

       While the Seventh Circuit has yet to address this precise issue, in resolving a

challenge to a damages award in an FCA case, the Court recently interpreted

“resulting from” and concluded that it “requires that there be some causal nexus

between the allegedly false claims and the underlying kickback violation.” Stop

Illinois Health Care Fraud, LLC v. Sayeed, 100 F.4th 899, 908 (7th Cir. 2024), reh’g

denied, 2024 WL 2785312 (7th Cir. May 30, 2024), and cert. denied, 145 S. Ct. 381

(2024). The Court did not need to establish what level of causation, “but-for causality

or something less,” § 1320a-7b(g) requires. But it expressly rejected the suggestion

“that every claim for payment following an anti-kickback violation is automatically



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false.” Id. at 909. “It is not enough to show that a defendant both engaged in unlawful

kickbacks and submitted false claims. The latter must ‘result from’ the former.” Id.

at 908 (cleaned up). The Seventh Circuit was clear that “resulting from” requires

some level of “actual causality.” Regeneron Pharms., Inc., 128 F.4th at 331.

      Relators argue that Sayeed endorsed Greenfield and, as a result, supports the

conclusion that “resulting from” requires only some lesser level of causation. [Dkt.

180 at 20.] Specifically, Relators claim that they “need only show that the

prescriptions written by speaker physicians while they were taking Allergan money

violated the AKS, and thus claims paid for those prescriptions violate the FCA.” [Id.]

This rendition of Relators’ burden confuses AKS and FCA requirements. As this

Court previously explained “[t]he [AKS inquiry] concerns the defendant’s conduct;

the [FCA inquiry concerns] the conduct of the person who submits the allegedly false

claims.” [Dkt. 164 at 23.] The AKS violation does not depend on whether any

prescriptions were written as result of the kickbacks; all that matters is Allergan’s

intent in paying the kickbacks. See Borrasi, 639 F.3d at 780–82. Consequently, it’s

inaccurate for Relators to suggest that an AKS violation rests on prescriptions

written by doctors receiving kickbacks. The FCA, on the other hand, isn’t violated

unless corresponding claims are submitted for payment to federal health care

programs. [Dkt. 164 at 26.]

      In Relators’ view, all claims resulting from prescriptions written by doctors

while they received Allergan kickbacks are false claims. But that is nothing more

than the causationless temporal standard rejected the Seventh Circuit in Sayeed:



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“Th[e] broad suggestion … that every claim for payment following an anti-kickback

violation is automatically false … is inconsistent with § 1320a-7b(g)’s directive.” 100

F.4th at 909. Sayeed instructs that, at minimum, “some causal nexus between the

allegedly false claims and the underlying kickback violation” must be shown. Id. at

908. Because Relators’ proposed standard lacks any causal element, it doesn’t pass

muster under Sayeed. Even Greenfield (albeit at the summary judgment stage)

explained “[i]t is not enough … to show temporal proximity between [the] alleged

kickback plot and the submission of claims for reimbursement.” Greenfield, 880 F.3d

at 100.

      There is also nothing inherently suspect, as the Government argues in its

Statement of Interest, about an FCA violation premised on subsection (g) of the AKS

requiring but-for causation while a criminal AKS violation does not. [Dkt. 187 at 6.]

As the Regeneron court explained, “it is not unheard of for the same statute to impose

different evidentiary burdens for related civil and criminal claims. 128 F.4th at 331–

32. An example is civil and criminal RICO claims; “In civil RICO, each wrongful act

that causes injury is a new cause of action …; in criminal RICO,… the defendant is

being punished for his participation in the pattern as a whole.” Id. (citing McCool v.

Strata Oil Co., 972 F.2d 1452, 1466 (7th Cir. 1992), as amended on reh’g in part (Oct.

26, 1992). Consequently, varying causation standards within a criminal and civil

scheme is not a reason to reject the plain meaning of “resulting from.” Burrage, 571

U.S. at 204.




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      Contrary to Relators’ suggestion, Greenfield is not persuasive given the

analytical misstep that pervades its reasoning. The relator in Greenfield styled his

complaint as one concerning legal falsity due to false certification; his argument was

that Accredo—the alleged FCA violator—falsely “certified compliance with the Anti-

Kickback Statute” while paying kickbacks to two charities. 880 F.3d at 94. The Third

Circuit explicitly recognized that Greenfield’s theory was one of false certification:

“Greenfield contends Accredo’s claims were legally false because they were

incorrectly certified as compliant with the Anti-Kickback Statutes.” Id. However,

without assessing the landscape of FCA claims post-2010 Amendment to the AKS,

the Court assumed that the “resulting from” causation standard in § 1320a-7b(g)

applied to all FCA kickback claims, including false certification claims running

through § 3729(a)(1). Rather than interpreting subsection (g) as an alternate pathway

to FCA liability, Greenfield assumed without analysis that it was the only pathway

to FCA liability.

      That assumption led the Court to reject the but-for causation standard. It

reasoned that applying such a rigorous causation standard to all FCA claims “would

dilute the FCA,” defeating Congress’s goal of the 2010 Amendment “strengthen[ing]

whistleblower actions based on medical care kickbacks.” Id. at 97 (cleaned up). It

would make it more difficult to bring any type of FCA claim because, in addition to

proving a false certification, the Relator would need to prove that the false

certification was made because of the AKS violation. The Court’s reasoning was also

influenced by the language in the at-issue certification—CMS Form 855S. Observing


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that the form included no causation requirement, the Court found it incongruous to

require but-for causation. Id.

       More will be said about this issue with respect to Relators’ false certification

claim, but Greenfield’s assumption is unsupported by the text of the statutes and was

rejected by the Regeneron and Cairns courts. The concerns animating the Greenfield

court decision are not persuasive when subsection (g) is properly viewed as an

alternative pathway to FCA liability. Given these issues, Relators’ reliance on

Greenfield is unavailing. All the other Circuits to directly address the question point

in one direction—holding that “resulting from” requires but-for causation for claims

made under the 2010 Amendment. Examining the text of the statute, and in light of

Sayeed’s guidance, this Court agrees that but-for causation is required. Ultimately

though, no matter what causal standard is imposed, Relators’ allegations are

insufficient.

                2.   Sufficiency of Allegations

       Next, the Court turns to the sufficiency of Relators’ allegations. Rule 9(b)

obligates Relators to “inject[] precision and some measure of substantiation into their

allegations of fraud.” United States ex rel. Presser v. Acacia Mental Health Clinic,

LLC, 836 F.3d 770, 776 (7th Cir. 2016) (citation and internal quotation marks

omitted). By and large, courts require the identification of “an actual claim that was

submitted to Medicare” to survive a motion to dismiss. United States ex rel. Suarez v.

AbbVie Inc., No. 15 C 8928, 2019 WL 4749967, at *10–11 (N.D. Ill. Sept. 30, 2019)

(cleaned up). However, the Seventh Circuit explained that the minimum showing is


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(1) “specific representative examples” of false submissions, United States ex rel. Sibley

v. Univ. of Chicago Med. Ctr., 44 F.4th 646, 656 (7th Cir. 2022), or (2) particularized

factual allegations that give rise to a plausible inference of fraud,” United States ex

rel. Mamalakis v. Anesthetix Mgmt. LLC, 20 F.4th 295, 301 (7th Cir. 2021).

      When courts excuse the relator from including “information concerning specific

claims submitted to the government,” they require that the particularized factual

allegations “necessarily le[ad] one to the conclusion that the defendant … presented

claims to the government.” Suarez, 2019 WL 4749967, at *12 (citing Presser, 836 F.3d

at 778). It is insufficient to “merely describe[e] [the] fraudulent or unlawful activity.

Id. at *10. The facts alleged must overcome obvious alternative—and legal—

explanations for the submission of claims. Alarm Detection Sys., Inc., 930 F.3d at 821.

      Last time around, the Court emphasized that “an uptick in prescriptions itself”

does not imply the submission of false claims. [Dkt. 164 at 27.] It offered Relators

some non-exclusive examples of how they could bulk up their allegations, including

by identifying specific quid pro quos (similar to the allegations about Dr. Bierman) or

comparing Speaker Bureau physicians’ prescription rates against the prescription

rates of doctors not receiving Allergan kickbacks or against the prescription rates of

doctors who attended Speaker Bureau events but were not paid speakers. [Id. at 28–

30.] In essence, Relators should present data that controls for other variables such

that an increased number of prescriptions written by Speaker Bureau physicians is

likely attributable to Allergan’s payments.




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      Between the 3AC and 4AC, Relators’ allegations changed only slightly. In the

3AC, Relators detailed the prescription habits of a few doctors but attached as an

addendum additional information about 15 more. [Dkt. 177 at 9.] In their 4AC,

Relators moved those allegations from the addendum into the main text and added

one additional provider—Dr. Agarwal. In resolving the motion to dismiss the 3AC,

the Court explained that even if it considered the information in the addendum, the

complaint would not pass muster. [Dkt. 164 at 44.] Allegations “that a speaker

physician was paid for an unattended, under-attended, or cancelled event and later

increased his or her prescription volume” do not support the inference that “doctors

submitted false claims resulting from kickbacks on a nationwide basis.” [Id.]

      Relators’ new allegations concerning Dr. Agarwal follow the same deficient

pattern. Before being paid by Allergan, Dr. Agarwal wrote 18 prescriptions, but in

2016, after being paid for 12 Speaker Bureau events, his prescription volume

increased to 59 prescriptions. [Dkt. 173 ¶ 211.] Allergan paid Dr. Agarwal for five

events in 2017, and he wrote 172 prescriptions. [Id.] The allegations for the other 15

speaker-physicians follow the same pattern, citing how much they were paid by

Allergan and how many prescriptions they wrote, compared to a lesser amount before

receiving kickbacks.

      Regardless of whether the Court interprets “resulting from” as requiring but-

for or some lesser causal relationship, Relators’ allegations are not sufficient. As the

Court previously explained, the fact that doctors’ prescription rates for Linzess and

Viberzi increased after they began receiving payments from Allergan does not, for



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Rule 9(b) purposes, support an inference of causation. [Dkt. 164 at 2.] Relators urge

the Court to make the “plausible” inference that “speakers did what Allergan

expected by writing prescriptions once they entered the program and that the

government paid claims for those prescriptions.” [Dkt. 180 at 23.] But that is merely

a temporal connection which the Seventh Circuit held is insufficient. See Sayeed, 100

F.4th at 908 (“It is not enough to show that a defendant both engaged in unlawful

kickbacks and submitted false claims.”). While inferences “are not forbidden in 9(b)

territory, … this one is not supported by enough factual allegations.” RBG Plastic,

LLC v. Webstaurant Store, 2021 WL 4146899, at *4 (N.D. Ill. Sept. 13, 2021). Relators

do not allege facts that “necessarily le[ad] one to the conclusion that” claims were

presented to the government. Suarez, 2019 WL 4749967, at *12.

      The fact that Allergan retained speaker-physicians who wrote more

prescriptions and terminated speaker-physicians who wrote fewer prescriptions

doesn’t fit the bill either; that goes to Allergan’s intent in paying kickbacks, which is

relevant to an AKS claim but not an FCA one. [Dkt. 180 at 22.]

      Allergan identifies variations in Speaker Bureau physicians’ prescribing

habits, including a few physicians, such as Dr. Kayal, who wrote fewer prescriptions

while Allergan was paying them. [Dkt. 177 at 19.] Relators counter that Dr. Kayal’s

prescription rates “dropped in lockstep with reductions in his speaker fees” which

supports the existence of a quid pro quo relationship. [Dkt. 180 at 25.] That theory is

not borne out by Relators’ examples. Dr. Agarwal was paid for substantially fewer

events in 2017 compared to 2016 (5 vs. 12 events) but between those two years his



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prescription rate jumped 192%. [Dkt. 173 ¶ 211.] The same is true for Dr. Hathaway,

who was paid less in 2018 but increased his Linzess prescriptions. [Id. ¶ 201.] These

examples only emphasize the difficulty in deriving any concrete relationship between

payment for Speaker Bureau events and prescriptions written.

      Faced with this difficulty, Relators assert that they “need not show never-

ending growth in prescription volume,” explaining that “among the hundreds of

physicians in the program, some may have had different appetites for participating

in Allergan’s scheme”—in fact, Relators note, some physicians may have not

“alter[ed] their prescribing patterns based on Allergan’s payments.” [Dkt. 180 at 24.]

      This argument reveals cracks in Relators’ claim. Supporting their theory that

the Speaker Bureau was a conduit to trade cash for prescriptions are Relators’

allegations about Nurse Practitioner Jeffreys who was allegedly axed from the

Speaker Bureau after she failed to maintain or increase her prescription volume.

[Dkt. 177 at 20.] While Relators allege Allergan terminated 136 speaker-physicians

like Jeffreys for being “low-prescribers,” they offer no details on their prescribing

habits. [Dkt. 173 ¶ 160.] Meanwhile, Relators’ allegations show there were other

Speaker Bureau doctors like Dr. Tran who remained in the Speaker Bureau—and

were paid for an increasing number of speaking events—despite their prescription

volume dropping. [Id. ¶ 217.] Relators do not allege these doctors were cut from the

program or disciplined in any way.

      Relators ask the Court to agree that all claims resulting from prescriptions

written by Speaker Bureau doctors are false claims. But they admit that some doctors



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didn’t change their prescribing habits in response to Allergan’s payments. This

inconsistency spotlights the risk of permitting a temporal connection to stand in for

a causal one. The purpose of the FCA is “to provide restitution to the government of

money taken from it by fraud” not to protect patients from doctors who may be

making financially motivated treatment decisions. Regeneron Pharms., Inc., 128

F.4th at 332. That problem falls to the AKS. Id. As Sayeed recognized, assuming that

every prescription written by a doctor who received kickbacks resulted in the

submission of a false claim would be overinclusive. 100 F.4th at 908. An FCA cause

of action cannot be premised on claims that were not caused by the kickback scheme.

      Responding to this Court’s prior order, Relators attempt to identify a causal

connection between kickbacks and claims by comparing the prescription rate of

doctors in the Speaker Bureau with those who were not. They assert that “physicians

who began accepting Allergan speaker payments … averaged 69.56 prescriptions in

2016 or 167% of the number of prescriptions written by doctors who received no

remuneration from Allergan … during that same year.” [Dkt. 173 ¶ 222.] On first

blush, this statistic sounds compelling. But on closer review it falls short.

      To plausibly allege a causal relationship between kickbacks and claims

presented to the government for payment, what matters is not the number of

prescriptions written during a particular year when doctors received remuneration

but any change in prescription rate before and after the doctors began receiving

kickbacks. To determine any impact of Allergan payments, that figure must be

compared against any change in prescription rates for non-Speaker Bureau doctors



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over the same period of time. Even drawing all reasonable inferences in their favor,

from Relators’ allegation there is no way to know if the doctors referenced wrote, on

average, more prescriptions in 2016 or whether their average prescription rate stayed

relatively flat. Put another way, any difference Relators allege between the two

groups (Speaker and non-Speaker doctors) is not plausibly attributable to Allergan

kickbacks. It just supports what Relators allege to be true: that Allergan recruited

into the Speaker Bureau doctors who wrote lots of prescriptions for Allergan drugs.

[Id. ¶¶ 149–55.]

      A related problem with Relators’ allegation is that using the average number

of prescriptions written by Speaker Bureau doctors and non-Speaker Bureau doctors

obscures the significant variation in prescription volume among doctors in general.

Looking at the prescription habits alleged in the complaint, some doctors wrote

relatively few prescriptions before being added to the Bureau—for example, Dr. Chiao

wrote 23 prescriptions for Linzess in 2015 before he was paid. [Id. ¶ 264.] However,

after beginning to receive payment from Allergan, he wrote 62 prescriptions, which

is a 169% increase. [Id.] In contrast, another doctor, Dr. Chien, wrote 230

prescriptions of Linzess in 2015 before receiving any payment. [Id. ¶ 167.] In 2016,

once Allergan began paying him, his volume increased to 337 prescriptions. [Id.]

While that number is significant, Dr. Chiao’s percentage increase was only 46%.

Relying on average prescriptions written per year obscures the possibility that while

Speaker doctors wrote more prescriptions in absolute terms that is merely because

they were, in general, high prescribers. [Id. ¶¶ 149–55.]



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        Ultimately, Relators’ assertion using average number of prescriptions does not

help them allege a causal relationship between kickbacks and claims. All it shows is

that in 2016 some collection of physicians in the Speaker Bureau wrote, on average,

more prescriptions for Allergan drugs than physicians who did not receive

remuneration. 9 Relators’ assertion does not lead to the conclusion that Speaker

Bureau doctors wrote more prescriptions that, in turn, resulted in more claims

submitted to the government, because of Allergan kickbacks.

        Dovetailing with the insufficiency of this assertion, Relators admit that CMS

data shows that the overall prescription volume for Linzess in 2016—both by doctors

paid by Allergan and those who were not—increased by 42% compared to 2015. [Dkt.

173 ¶ 199.] While they attribute this trend to the success of Allergan’s Speaker

Bureau program, they cite no data suggesting the increase in volume is due to paid

speakers rather than the market at large. [Id.]

        Relators also cite a 2019 ProPublica study, analyzing CMS data and Allergan’s

speaker fee payments for Linzess. [Dkt. 173 ¶¶ 35, 221.] Citing the article, they

contend that “Doctors who received payments related to Linzess in 2016 wrote 45%

more prescriptions for the drug, on average, than doctors who received no payments.”

[Id. ¶ 221.] Relators are not precise about whether this figure includes doctors who

received other types of remuneration besides Speaker Bureau fees. The study’s

methodology suggests it does: 97% of doctors who received remuneration from Linzess



9        Even viewing Relators’ assertion generously, it is unclear to the Court whether the 69.56 figure
is the average of all doctors in the Speaker Bureau in 2016 or some subset, such as only doctors who
first began receiving remuneration in 2016.

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received       only      free       meals,        not      Speaker           fees.   See

https://projects.propublica.org/graphics/d4dpartd-methodology        (fig.   “Promotional

Spending on Open Payments”). This difference matters. Since the kickback Relators

identify is Speaker Bureau payments—not receipt of free meals—statistics about

claims resulting from doctors receiving that type of remuneration does not create an

inference that false claims necessarily resulted from Speaker Bureau kickbacks.

Presser, 836 F.3d at 778.

      The new allegations in Relators’ 4AC are unsuccessful in isolating for any

effect Speaker Bureau payments had on prescription rates. They do not identify a

specific patient or specific claim submitted to the government for payment.

Mamalakis, 20 F.4th at 301; Presser, 836 F.3d at 777; Sibley, 44 F.4th at 656 (“[T]o

defeat dismissal, ‘specific representative examples’ of false submissions are

required.”). Also missing are “particularized factual allegations,” Mamalakis, 20

F.4th at 301, setting out “the requisite ‘who, what, when, where, and how’ of the

fraud.” Sibley, 44 F.4th at 657 (citation omitted). Relators’ allegations do “necessarily

le[ad] one to the conclusion that the defendant … presented claims to the

government.” Suarez, 2019 WL 4749967, at *12

      The lack of rigor in Relators’ pleading causes plausible, legal explanations for

the rise in prescription volume to remain. Id. This time around, Relators allege that

Linzess was not a new drug; as such, they argue that it is not a reasonable alternative

explanation for the increase in prescriptions during the relevant period. Even so,

Relators admit that after Allergan acquired Forest Laboratories and its drug,



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Linzess, it engaged in aggressive marketing tactics, which allegedly included the

speaker events. [Dkt. 173 ¶ 109.] The fact that, according to Relators, Linzess wasn’t

new doesn’t make implausible that, due to Allergan’s marketing efforts, many more

physicians became aware of the drug (whether through lawful or unlawful marketing

techniques).

         Except for two doctors—Bierman and Kayal—Relators’ allegations do not

create the inference that doctors who received kickbacks wrote prescriptions out of

that motivation, as opposed to their medical judgment concerning the efficacy of

Allergan’s products. Relators’ allegations of Dr. Bierman’s explicit quid pro quo with

Allergan is sufficient to state a claim. With respect to Dr. Kayal, Relators allege that

after he was added to the Speaker Bureau he “had 10 patients start on Viberzi.” [Dkt.

173 ¶ 192.] Although not as specific as the allegations concerning Dr. Bierman, this

is enough to make plausible that Dr. Kayal wrote ten prescriptions for Viberzi

following an Allergan speaker event because of the kickback. 10

                                        * * * * *

         When the Court ruled on Relators’ 3AC it concluded that Relators also stated

an FCA claim with respect to Nurse Practitioner Jeffries. [Dkt. 164 at 41 n.26.] Upon

closer review, the Court is convinced that decision was error. Relators’ allegations

about Jeffreys go a long way to support an AKS violation. The fact that Allergan


10      Allergan argues that Relators’ allegations of a FCA kickback scheme with respect to
Viberzi are thin; most allegations concern prescriptions for Linzess. [Dkt. 177 at 20–21.]
True, however, Relators persuasively allege that the kickback scheme encompassed both
drugs. In addition, since the Court is permitting only the FCA Kickback claims with respect
to Dr. Bierman and Dr. Kayal to proceed, and both those doctors allegedly prescribed Viberzi,
the Court need not splice the claim.
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allegedly cut individuals like Jeffreys from the Speaker Bureau for failing to maintain

or increase their prescription volume makes plausible that Allergan intended the

Speaker Bureau to operate as a kickback. [Dkt. 173 ¶ 191.] With respect to an FCA

violation, however, the fact that Jeffreys failed to increase her prescriptions makes it

unlikely that any claims were submitted as a result of Allergan’s kickbacks. [Id.]

Quite the opposite, Relators’ allegations suggest all the prescriptions she wrote were

due to her medical expertise.

         Consequently, for the remaining providers including Jeffreys, no matter what

level of causation is required, Relators’ allegations fail to connect kickback payments

with false claims for payment presented to the government. 11

IV.      Count I: False Certification Theory

         Relators’ second FCA theory is false certification. A different flavor of this

claim, referred to as a “false record” claim, was raised in Relators’ 3AC and focused

on doctored internal Allergan attendance records for Speaker Bureau events. [Dkt.

164 at 49.] Now Relators point to Medicare and Medicaid form certifications, which

they allege failed to disclose the AKS violation.




11      Allergan offers an alternative view of the Medicare Part D data, arguing that “non-
speakers’ prescribing rates for Linzess grew 133% over the same time period” compared with
a 76% growth rate for “all of the program speakers who appear in the Medicare Part D data.”
[Dkt. 177 at 18.] While the Court could consider this data without converting Allergan’s
motion into one for summary judgment, the deficiency of Relators’ allegations make doing so
unnecessary to the Court’s resolution of the motion. See Perkins v. Silverstein, 939 F.2d 463,
469 n.4 (7th Cir. 1991) (“In determining the sufficiency of the complaint we must rely on the
exhibits whenever the allegations of the complaint are materially inconsistent with those
exhibits.”); Craig v. Rich Twp. High Sch. Dist. 227, 736 F.3d 1110, 1113 (7th Cir. 2013) (“[A]
court may also examine information from documents referenced in the complaint that the
plaintiff relies upon to support its claim.”).
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      A.     Causation

      The false certification theory arises under 31 U.S.C. § 3729(a)(1)(B) and

applies where a person “knowingly makes, uses, or causes to be made or used, a false

record or statement material to a false or fraudulent claim.” U.S. ex rel. Ziebell v. Fox

Valley Workforce Dev. Bd., Inc., 806 F.3d 946, 951 (7th Cir. 2015). “Claim” means a

demand for payment presented to the federal government or its agent. Id.

§ 3729(b)(2)(A); Olhausen v. Arriva Med., LLC, 124 F.4th 851, 862 (11th Cir. 2024).

Under this theory, a claim is made false through an express or implied false

certification of compliance with a condition of payment that is material to the

government’s decision to pay the claim. Molina Healthcare, 17 F.4th at 741; Escobar,

579 U.S. at 186–87. Courts agree that AKS compliance is a material condition of

payment. United States v. Am. at Home Healthcare & Nursing Servs., Ltd., 2017 WL

2653070, at *9 (N.D. Ill. June 20, 2017). Relators assert both false express and

implied certification theories, but by-and-large discuss them together.

      A threshold question is whether false certification claims concerning AKS

compliance must still satisfy 42 U.S.C. § 1320a-7b(g). The answer hinges on whether

the 2010 AKS amendment—which added subsection (g)—applies to all FCA Kickback

cases or just those where submission of false claims is at issue. This is the issue the

Greenfield court missed when deciding that subsection (g) did not impose but-for

causation.

      Allergan argues, relying on Minnesota district court opinion, United States ex

rel. Louderback v. Sunovion Pharms., Inc., 703 F. Supp. 3d 961, 980 (D. Minn. 2023),



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that all FCA cases premised on AKS violations must go through § 1320a-7b(g). [Dkt.

177 at 23.] It presses that the Seventh Circuit in Sayeed is in accord, as evidenced by

its acknowledgement of the insufficiency of a purely temporal connection between

kickback and submission of claim. [Id.] Allergan also cites this Court’s prior

conclusion that “Relators must allege claims submitted to the government that

resulted from those kickbacks.” [Dkt 184 at 9-10.]

      Relators counter that false certification cases, which existed before the 2010

AKS amendment, run on a separate track from false-claim-style cases that implicate

§ 1320a-7b(g). Even Cairns—one of the principal cases supporting the but-for

causation theory—cabins its analysis to cases based on the 2010 AKS amendment.

42 F.4th at 836 (“Our ruling today is narrow. We do not suggest that every case

arising under the False Claim Act requires a showing of but-for causation[,] …” only

“when a plaintiff seeks to establish falsity or fraud through the 2010 amendment …”).

      As discussed in section III.B.1, supra, the Regeneron court went further,

holding that false certification cases “d[o] not require proof of causation to

demonstrate falsity…; a material misrepresentation of compliance with the AKS [is]

enough.” 128 F.4th at 333 (“[T]here is nothing in the 2010 amendment that requires

proof of but-for causation in a false-certification FCA case.”). It explained that this

cause of action predated the 2010 amendment and continues to be viable because the

amendment “did not clearly intend to alter false-certification caselaw by imposing a

but-for causation requirement.” Id. (“[T]he 2010 amendment did not disturb

alternative theories of FCA liability” such as false certification.). As for Sayeed,



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Allergan’s reading stretches its limited holding too far. 100 F.4th at 903, 908

(interpreting “resulting from” language in subsection (g) because Relator pursued a

false claim, as opposed to false certification, theory).

      These cases, principally Regeneron and Cairns, reject the rationale of the

Louderback court when it comes to the animating purpose of the 2010 AKS

amendment. Louderback was concerned that permitting some FCA claims based on

AKS violations to skirt subsection (g) would result in the 2010 amendment having

“little practical effect” because no “relator would go to the trouble of attempting to

allege a claim under § 1320a-7b(g) and meet its but-for causation standard when a

less demanding path” was available. 703 F. Supp. 3d at 980.

      To begin with, the Court does not agree that establishing but-for causation is

uniformly more difficult than proving false certification. As other courts recognize,

the 2010 AKS amendment was intended to strengthen the government’s ability to

respond to fraud and “create[] a different pathway to establish falsity in FCA actions

based on AKS violations.” Regeneron, 128 F.4th at 335 (cleaned up). Requiring all

FCA claims stemming from AKS violations to pass muster under subsection (g) and

allege but-for causation would work against the goal of the amendment. Ultimately,

the Court sides with the First Circuit in Regeneron and finds that a cause of action

for falsely certifying compliance with the AKS exists and does not require alleging

but-for causation.




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      B.      Failure to State a Claim

      Relators argue that Allergan caused both express and implied certifications to

falsely indicate compliance with the AKS. [Dkt. 180 at 12.]

      “Under an express false certification theory, a plaintiff must allege that [the]

defendant[] falsely and specifically certified that it is in compliance with regulations

which are prerequisites to Government payment in connection with the claim for

payment of federal funds.” Walgreen Co., 417 F. Supp. 3d at 1085 (cleaned up). The

statute expressly requires that any false record or statement be material to a claim

for payment. § 3729(a)(1)(B); § 3729(b)(2)(A).

      The Supreme Court in Escobar recognized the implied certification theory as a

basis for liability but with two conditions. 579 U.S. at 190. First, the claim cannot

“merely request payment”; it must “make[] specific representations about the goods

and services provided.” Id. Second, the defendant’s failure to disclose noncompliance

with material statutory, regulatory, or contractual requirements [must] make[] those

representations misleading half-truths.” Id.

      Under    either   theory,   FCA    liability   extends   to   a   defendant   who

“knowingly … causes” the creation or use of a “false record or statement material to

a false or fraudulent claim.” § 3729(a)(1)(B). The Seventh Circuit recently clarified,

albeit not in an AKS violation context, that FCA liability can result even where an

innocent intermediary submits the false certification. Sibley, 44 F.4th at 659; see also

United States ex rel. Kroening v. Forest Pharms., Inc., 155 F. Supp. 3d 882, 887 (E.D.

Wis. 2016) (same conclusion in a pre-Escobar FCA Kickback case).



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      Cases from within the Seventh Circuit in the express false certification context

indicate that the “documents [comprising the false certification must] ha[ve] an[]

apparent nexus to federal payments.” Ziebell, 806 F.3d at 951. Put another way, the

alleged false certification must have been made “in connection with the claim for

payment of federal funds.” United States v. UnitedHealthcare Ins. Co., 2018 WL

2933674, at *4 (N.D. Ill. June 12, 2018). The nature of the connection required is

opaque—must the certification accompany the request for payment or is it sufficient

if the certification influences the request for payment (for example, if payment would

not be made absent the certification)? Further complicating matters is the Seventh

Circuit’s holding that “[p]romises of future compliance” with federal laws are not a

basis for FCA liability unless the promise was “made with intent not to perform.”

Ziebell, 806 F.3d at 951; see also United States ex rel. Cieszyski v. LifeWatch Servs.,

Inc., 2015 WL 6153937, at *8 (N.D. Ill. Oct. 19, 2015).

       Taken together with Sibley, these cases indicate that FCA liability cannot

result where an innocent third party makes future representations of compliance. 44

F.4th at 659. Since the third party is unaware of any violation, it would be unlikely

that they previously certified compliance “with intent not to perform.” Ziebell, 806

F.3d at 951. Consequently, where a case involves an innocent third-party certifier,

this case law suggests that liability only lies where the certification manifests current

compliance in conjunction with a claim for payment.

      To be sure, another possibility is that Ziebell’s holding regarding future

promises is simply inapplicable to cases involving third-party certifiers. 806 F.3d at



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951. Or, perhaps, Ziebell and similar cases like UnitedHealthcare mistook the

statute’s materiality requirement (certification being material to a claim for

payment) for a timing requirement (narrowing scope of FCA liability except where

certifications accompany requests for payment of a specific claim). These issues are

for another court to resolve. The dearth of allegations in this case make resolving the

precise contours of the cause of action unnecessary. Regardless of how § 3729(a)(1)(B)

claims apply where innocent third parties submit prospective certifications of

compliance, Relators’ allegations fall short of Rule 9(b).

         Relators’ complaint is vague about what entities submit claims for payment,

referring only to “a party that submits a claim for payment.” [Dkt. 173 ¶ 67.] Instead,

Relators cite a variety of form certifications (provider agreements, certifications of

compliance, enrollment forms) and argue Allergan’s kickbacks caused them all to be

false.    [Id.   ¶¶ 53–56.]   They   broadly    assert   that   “[e]very   physician   who

prescribed … Linzess and Viberzi for Medicare patients alleged herein must have

executed these required certifications in order to receive payment from Medicare for

providing physician services to these Medicare patients.” [Id. ¶56.] They contend that

physicians complete a few standard forms: Form 1500, Form CMS-855O, and Form

CMS855I. These certifications, Realtors argue, are necessary for physicians to be paid

“for providing physician services” and “to prescribe and have Medicare pay for

prescriptions.” [Id. ¶¶ 53–56.]

         Absent from Relators’ 4AC, though, are allegations connecting “physician

services” to claims for reimbursement for prescriptions. Similarly missing are



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allegations that physicians submitted any certification or received any payment in

conjunction with writing a prescription that eventually wound its way to the

government for payment. So, that doesn’t suffice for an express false certification

theory.

         Relators allege that pharmacies make prospective certifications of compliance

through Form 855S and through subcontracts with Medicare Part D sponsors. [Id.

¶ 60.] Relators do not allege that pharmacies submitted any claims in conjunction

with Viberzi or Linzess prescriptions. The closest they come is alleging that “Dr.

Bierman’s prescriptions for Viberzi and Linzess were presented to pharmacies that

filled them and claims for the medication were submitted to the Medicare Program.”

[Dkt. 173 ¶ 188.]12

         Far from identifying any specific false certification, Relators don’t explain the

claim submission and certification process or identify any false claim submitted in

conjunction with a false certification. Rule 9(b) requires Relators to explain “the ‘who,

what, when, where, and how’” of their false certification theory. Berkowitz, 896 F.3d

at 839 (cleaned up). Instead of doing so, they ask the Court to agree that unnamed

and unknown pharmacies completed certifications and some unspecified entity



12      By way of comparison, in another false certification case, United States ex rel. Lisitza
v. Par Pharmaceutical Companies, Inc., the relators’ allegations concerning the claim-
submission process were clear: “pharmacies submitted reimbursement claims to Medicare
after filling prescriptions,” and completed a “standard form” indicating “a provider number,
a total amount billed, the name of [the] patient, the National Drug Code … the prescription
number, and the date filled.” 276 F. Supp. 3d 779, 785 (N.D. Ill. 2017). Also included was a
certification form attesting to the accuracy of the information being provided, including that
falsification of claims could be a violation of federal and state law. Id. In contrast, Relators’
allegations here do not even sketch the process by which claims are submitted for payment.

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subsequently submitted claims for prescriptions written by Speaker Bureau doctors.

Relators do not identify any representative claims or identify any certifications

completed by any pharmacies. Their “complaint fails to allege … any specific facts

demonstrating what occurred at the individualized transactional level.” United States

ex rel. Berkowitz v. Automation Aids, Inc., 896 F.3d 834, 841 (7th Cir. 2018).

       Sometimes courts relax the Rule 9(b) requirement that Relators identify a

specific false claim submitted to the government where relators are not “in a position

to obtain” such information. Suarez, 2019 WL 4749967, at *12. Here, Relators

allegations confirm that is not the case. Relators allege that, in particular with

respect to Dr. Bierman, Allergan had sales representatives, including Relator

Wilkerson, “chase” prescriptions written by doctors to ensure pharmacies filled them

and that the prescription was “paid for by the relevant federal or state payor.” [Dkt.

173 ¶ 174.] This allegation suggests that Relators were aware of specific pharmacies

that dispensed Allergan medication in response to specific prescriptions written by

Speaker Bureau doctors. Consequently, Relators could have included particularized

allegations concerning certifications submitted by those pharmacies. The decision not

to is fatal to their claim.

       Relators’ implied false certification claim fails for the same reason. To state a

claim for implied false certification Relators must identify a claim for payment

submitted where the submitter did “not merely request payment, but also ma[de]

specific representations about the goods or services provided.” Escobar, 579 U.S. at

190. Relators failed to identify any request made for payment from the government



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or its agent or any language making specific representations about what was

provided. While Relators identify forms pharmacies complete to participate in the

Medicare program, see dkt. 173 ¶ 55, none include a request for payment or any

specific representations.

      Relators contend that every “‘claim’ submitted for payment by a dispensing

pharmacy” represented that the “doctor had prescribed Linzess or Viberzi” but failed

to disclose the AKS violation. [Dkt. 180 at 13.] They argue that “if a party pays a

kickback to induce prescriptions, it renders false the claim submitter’s implied

certification of compliance with the AKS.” [Id.] But, again, this is a repackaged taint

theory which is insufficient under Escobar. In Escobar, the defendants made specific

representations about the goods provided, including payment codes and identification

numbers that represented that services had been provided by health providers with

certain job titles and corresponding qualifications. Escobar, 579 U.S. at 189–90.

Relators do not identify anything similar here, because, as explained, they isolate no

false claims to begin with. As a result, Relators’ implied false certification claim fails

as a matter of law.

V.    Count II: FCA False Record Claim

      The second count of Relators’ complaint asserts a claim under § 3729(a)(1)(B)

but this overlaps in large part with their false certification theory. With respect to




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false certifications through Medicare and Medicaid forms, that claim is dismissed for

failure to state a claim for the reasons discussed.

      In support of Count II, Relators also allege that Allergan falsified Speaker

Bureau attendance records. [Dkt. 173 ¶ 317.] Relators contend that they were

directed by Allergan managers to falsify records of who attended speaker events, and

Allergan was aware of this practice and encouraged it. [Id. ¶¶ 167, 236.]

      As the Court explained when dismissing Relators’ 3AC, Relators did not allege

that Allergan fabricated these attendance records “in order to receive money from the

government.” Lanahan v. Cnty. of Cook, 41 F.4th 854, 862 (7th Cir. 2022). Relators

did not allege that the attendance records were submitted or used in any way to

obtain payment from governmental entities. Also missing from Relators’ complaint

were allegations connecting record falsification to high-level Allergan employees.

[Dkt. 164 at 50.] Instead, Relators vaguely alleged that “Allergan instructed sales

representatives to manipulate speaker event attendance records” declining to specify

who, when, or how. Lanahan, 41 F.4th at 862; [Dkt. 173 ¶ 167.] Between the 3AC

and 4AC Relators’ allegations did not materially change. [See generally, dkt. 173-2

(redline comparison of 3AC and 4AC).] So, Count II is dismissed for failure to state a

claim for the same reasons previously explained.

VI.   Count III: FCA Conspiracy Claim

      Relators allege, as they did in their 3AC, that Allergan conspired with Speaker

Bureau physicians “to commit violations of the FCA and the AKS.” § 3729(a)(1)(C).

[Dkt. 173 ¶¶ 321–322.] “A civil conspiracy is a combination of two or more persons



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acting in concert to commit an unlawful act, or to commit a lawful act by unlawful

means.” Beaman v. Freesmeyer, 776 F.3d 500, 510 (7th Cir. 2015) (cleaned up). “As

long as there was a common goal, a conspiracy can be proved without respect to

whether the goal was ever accomplished.” United States ex rel. Lisitza v. Par Pharm.

Companies, Inc., 276 F. Supp. 3d 779, 807 (N.D. Ill. 2017). What matters is whether

there was an “agreement to commit an unlawful act,” not that “the conspiracy succeed

in its illicit aim.” Id. (quoting United States v. Vallone, 752 F.3d 690, 697–98 (7th Cir.

2014)). Since a corporation like Allergan cannot conspire with its employees, United

States ex rel. McCarthy v. Marathon Techs., Inc., 2014 WL 4924445, at *3 (N.D. Ill.

Sept. 30, 2014), Relators must allege “an agreement or meeting of the minds,” United

States ex rel. Lisitza v. Par Pharm. Companies, Inc., 276 F. Supp. 3d 779, 806 (N.D.

Ill. 2017), between Allergan and doctors in the Speaker Bureau program.

      It is not enough for Relators “to show that the alleged conspirators agreed upon

a fraud scheme” that would violate the FCA; ‘it must be shown that the conspirators

intended to defraud the Government.” Allison Engine Co. v. United States ex rel.

Sanders, 553 U.S. 662, 672–73 (2008) (cleaned up). Because the FCA is not “a general

anti-conspiracy statute,” “[t]he object of the conspiracy must be to make false or

fraudulent claims.” Lisitza, 276 F. Supp. 3d at 809 (holding that conspiracy to violate

Medicaid law is not sufficient for a claim under § 3729(a)(1)(C)). While speaker

physicians “need not have agreed on the details of the conspiratorial scheme,”

Relators must allege that they “understood the general objectives of the scheme,




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accept[ed] them, and agree[d], either explicitly or implicitly, to do [their] part to

further them.” Jones v. City of Chicago, 856 F.2d 985, 992 (7th Cir. 1988).

      The Court previously dismissed this count of Relators’ 3AC, explaining that

Relators’ allegations were too scant to establish an agreement. [Dkt. 164 at 47–48.]

Citing knowledge-attribution principles, Relators now argue that there is no

requirement that they allege a conspiracy between doctors and high-level Allergan

employees because all employees’ knowledge is attributed to the corporation. [Dkt.

180 at 27.] This misses the mark. The United States v. Anchor Mortgage Corporation

case Relators cite discussed the knowledge requirement in § 3729(a)(1)(A),

(“knowingly presents, or causes to be presented …), not agreement for purposes of a

conspiracy claim. 711 F.3d 745, 747 (7th Cir. 2013). Agency principles control whether

actions of employees in agreeing with a third-party to commit an unlawful act are

attributable to the employee’s employer. United States v. Ganos, 2019 WL 2178605,

at *5 (E.D. Wis. 2019).

      In this case, regardless of whether low-, mid-, or high-level Allergan employees

are considered, Relators failed to allege sufficient facts about any agreement. Most of

Relators’ detailed allegations concern the quid pro quo with Dr. Bierman. According

to Relators, Allergan District Manager Foust directed sales representatives,

including Relator Wilkerson, to inform Dr. Bierman that if he wanted to continue to

receive speaking fees, he had to increase his prescriptions of Viberzi. [Dkt. 173 ¶ 170–

71.] In response, Dr. Bierman agreed to increase his prescriptions so he could

continue to receive speaker fees. [Id. ¶ 172.] However, Relators do not allege any



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explicit or implicit agreement with Allergan to defraud the government by submitting

false or fraudulent claims. The allegations only concern Dr. Bierman’s agreement to

continue writing more prescriptions for Allergan drugs in order to continue receiving

Speaker Bureau fees. [Dkt. 173 ¶ 171–72.] That’s just evidence of an agreement to

engage in a scheme that would violate the FCA; not “inten[t] to defraud the

Government.” Allison Engine Co., 553 U.S. at 672–73.

      Relators do not include allegations outlining any meeting of the minds between

any Allergan employee and any Speaker Bureau doctor with respect to an agreement

aimed at defrauding the government. In their Opposition brief they direct the Court

to allegations about “Dr. Adam Levy, Dr. Asif Qadri, and other HCPs.” [Dkt. 180 at

27.] Relators’ allegations concerning Dr. Qadri mirror the allegations about other

providers: before Quadri was added to the Speaker Bureau he wrote relatively few

prescriptions for Allergan drugs; after being paid, he increased his prescriptions and

continued to do so while Allergan paid him. [Dkt. 173 ¶¶ 208–210.] There are no

allegations that Qadri agreed with anyone at Allergan to defraud the government.

The same goes for the other Speaker Bureau prescribers. As for Adam Levy, Relators’

complaint includes no allegations about him at all. Even for Dr. Kayal, Relators do

not allege any agreement. [Dkt. 173 ¶ 192–197.]

      When ruling on Relators’ 3AC, the Court recognized that Allergan admitted

the existence of an unlawful agreement with Dr. Bierman and found that admission

constituted waiver on the conspiracy claim at the pleading stage. [Dkt. 164 at 48.]

The Court holds Allergan to its waiver but emphasizes, as it did before, that



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agreement with a single physician does not establish a nationwide conspiracy. Count

III may proceed only with respect to an alleged conspiracy between Allergan and Dr.

Bierman.

VII.   Count IV: Reverse FCA Claim

       Relators allege what is commonly referred to as a “reverse FCA claim” under

§ 3729(a)(1)(G), arguing that Allergan “knowingly and improperly avoid[ed] … an

obligation or pay or transmit money or property to the government. [Dkt. 173 ¶¶ 325–

27.] The Court previously dismissed an identical version of this claim in Relators’

3AC, explaining that the claim is redundant because the only alleged obligation to

repay the government flows from Allergan’s alleged violation of § 3729(a)(1)(A). [Dkt.

164 at 51.] Relators now argue that redundancy is not a valid reason to dismiss the

claim at the motion to dismiss stage, but do not provide any new allegations with

respect to this claim. [Dkt. 180 at 27–28.]

       Courts in this Circuit—and elsewhere—regularly dismiss reverse FCA causes

of action when faced with identical circumstances. Where the relator “alleged that

the Defendant[] received money from the government through false claims and

records” but does “not allege[] that Defendant[] had an obligation to pay money … to

the government separate from the money [it] received via fraudulent statements and

records,” the reverse FCA claims should be dismissed as redundant. United States ex

rel. Myers v. Am.’s Disabled Homebound, Inc., 2018 WL 1427171, at *3 (N.D. Ill. Mar.

22, 2018) (collecting cases). Otherwise, under Relators’ theory, “just about any

traditional false statement or presentment action would give rise to a reverse false



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claim action” since “any false statement actionable under sections 3729(a)(1)(A) or

3729(a)(1)(B) could theoretically trigger an obligation to repay the fraudulently

obtained money.” Pencheng Si v. Laogai Rsch. Found., 71 F. Supp. 3d 73, 97 (D.D.C.

2014) (citing United States ex rel. Taylor v. Gabelli, 345 F.Supp.2d 313, 338 (S.D.N.Y.

2004)). Count IV is dismissed for failure to state a claim. 13

VIII. Counts V–XXXVIII: State Law Claims

         Relators’ state law claims mirror their federal ones. [Dkt. 180 at 28 (“Because

Relators have pled FCA related to [sic] Medicare claims, Relators respectfully submit

that their state law claims should not be dismissed.”). In dismissing Relators’ 3AC,

the Court emphasized that when re-pleading they could “allege facts and make legal

arguments” that “some states’ FCA analogues are more permissive than the federal

statute.” [Dkt. 164 at 53 n.31.] Relators did not take that opportunity. Because most

of Relators’ FCA claims are deficient as a matter of law, so too are their state law

claims.

         The only exception is Count XXXI, Relators’ Tennessee Medicaid FCA claim.

Tennessee’s version of the FCA is “substantially the same” as the federal FCA, so “the

federal FCA analysis” applies to that claim. United States v. Walgreen Co., 591 F.

Supp. 3d 297, 304 (E.D. Tenn. 2022) (cleaned up) (citation omitted). Because the




13     Relators’ citation to United States ex rel. Wallace v. Exactech, Inc., does not persuade
the Court otherwise for several reasons, not the least of which is that, in that case, relators
alleged that the defendant took steps to conceal the obligation for surgeons to repay the
money they’d received from the government. 2020 WL 4500493, at *21 (N.D. Ala. Aug. 5,
2020). There are no similar allegations in this case supporting a stand-alone violation of
subsection (g).

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Court concluded that Relators stated a claim with respect to Dr. Bierman and Dr.

Kayal under federal law, and because Relators allege that both doctors practiced in

Tennessee, see dkt. 173 ¶¶ 152, 192, Relators’ Tennessee FCA claims may proceed

only with respect to those two prescribers.

IX.   Count XXXIX: Relator Jackson’s FCA Retaliation Claim

      A.     Allegations of Retaliation against Relator Jackson

      Relator Jackson alleges that Allergan retaliated against him in violation of the

FCA by terminating him after he reported potential violations of the FCA. 31

U.S.C. § 3730(h)(1). According to the 4AC, Allergan instructed its sales force,

including Relators, to aggressively promote Viberzi to patients who did not have IBS-

D, but “had loose, runny or watery stools, and belly pain” or who simply wanted to

“eat whatever they wanted without fear of diarrhea.” [Id. ¶ 287.] Jackson viewed this

effort as illegal “off label” marketing. [Id. ¶ 288.] His supervisor, Foust, coached

Jackson to promote Viberzi to non-IBS-D patients and downplay potential side effects

of the drug. [Id. ¶ 289] Jackson observed Foust downplay the risks of Viberzi during

meetings with doctors, specifically the potential negative side effects for patients who

drank more than three alcoholic beverages per day. [Id.] Jackson also learned that

sales representatives who were not aware of Viberzi’s risks and addictive

characteristics aggressively marketed the drug to primary care physicians. [Id.

¶ 290.]

      Jackson refused to participate in this off-label marking but observed Viberzi’s

growth once sales representatives followed Allergan’s directive. [Id. ¶ 293.] Foust



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reprimanded Jackson for describing Viberzi’s contraindications, limiting his

marketing pitches to approved uses, and objecting to making false representations to

health care providers about Viberzi’s side effects. [Id. ¶¶ 296, 298.] Foust told Jackson

that he would fill out a negative coaching report—an internal Allergan report—in

response to Jackson’s conduct. [Id. ¶ 298.]

       This pattern continued through 2016, with Foust writing Jackson two negative

performance reviews in addition to the coaching report. [Id. ¶ 299.] Jackson reported

to Allergan managers and HR that Foust was directing him to lie about Viberzi’s

addictive qualities and to recommend the drug to patients who did not meet its

profile. [Id. ¶ 301.] In addition, he explained Foust was retaliating and discriminating

against him for not participating in off-label marketing. [Id. ¶¶ 301–02.] Allergan

regional manager Jimmy Martin, who supervised Foust, took no action in response

to Jackson’s reports. [Id. ¶¶ 303–04.]

       In January 2017, after Foust again reprimanded Jackson on the same basis,

Foust and Allergan HR fired Jackson for not meeting expectations. [Id. ¶ 307.] During

the same time, however, Jackson met and exceeded several performance-related

measures showing he was a capable and productive sales representative. [Id. ¶ 309.]

       B.     Analysis

       Because an FCA termination “claim does not allege fraud,” but is instead more

akin to discrimination statutes like Title VII, Rule 9(b) does not apply. Sibley, 44

F.4th at 662. Jackson just needs to offer “a short and plain statement” showing that

he is entitled to relief. Fed. R. Civ. P. 8(a). “[T]he court asks only whether the plaintiff



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has pleaded a facially plausible claim by alleging factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Sibley, 44 F.4th at 662 (citation and internal quotation marks omitted).

      Since its amendment in 2009, § 3730(h)(1) has prohibited “employers from

terminating employment for conduct that is in furtherance of an action under this

section” as well as for “undertaking other efforts to stop violations of the Act, such as

reporting suspected misconduct to internal supervisors.” Halasa v. ITT Educ. Servs.,

Inc., 690 F.3d 844, 848 (7th Cir. 2012) (citations and internal quotation marks

omitted). That includes violations of § 3729. Makela v. Apex Hospice & Palliative

Care, Inc., 2025 WL 343464, at *3 (N.D. Ill. Jan. 30, 2025).

      To state a claim, Jackson must allege that he “engaged in protected conduct

and was fired because of that conduct.” Sibley, 44 F.4th at 661. To assess whether

Jackson’s conduct was protected under the statute, courts examine “whether (1) the

employee in good faith believes, and (2) a reasonable employee in the same or similar

circumstances might believe, that the employer is committing fraud against the

government.” United States ex rel. Uhlig v. Fluor Corp., 839 F.3d 628, 635 (7th Cir.

2016) (citation and internal quotation marks omitted).

      Jackson alleges that “Allergan management” and his supervisor instructed

him (and other sales representatives) to promote Viberzi “off label” to patients who

did not have IBS-D and to downplay the drug’s side effects. [Dkt. 173 ¶¶ 287–89, 296–

98.] When Jackson refused to participate in off-label marketing of Viberzi, he was

reprimanded by his supervisor multiple times. [Id. ¶¶ 293, 296, 298.] Jackson



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reported to Allergan managers and HR that his supervisor was directing him to

market Viberzi off-label to patients who did not meet its profile and was retaliating

against him for not doing so. [Id. ¶¶ 301–02.] Jackson knew what off-label marketing

was, having attended compliance training, and was aware off-label marketing could

result in FCA liability. [Id. ¶ 300.] Jimmy Martin, the manager to whom Jackson

reported these issues, had also attended compliance training concerning off-label

marketing and was aware of the risks, but took no action in response to Jackson’s

report. [Id. ¶¶ 304, 306.] Although Jackson met and exceeded several performance-

related metrics, he was fired for not meeting expectations. [Id. ¶¶ 307, 309.]

      These facts adequately allege an FCA retaliation claim. Jackson believed

promoting Viberzi to patients who did not meet its profile—that is, did not have IBS-

D—constituted off-label marketing which, he knew from experience, could result in

FCA liability. This is sufficient to support the inference that “it was objectively

reasonable for [Jackson] to believe” Allergan was committing fraud against the

government. Sibley, 44 F.4th at 662.

      His allegations also support the inference that reasonable employees in his

position would reach the same conclusion. He contends that others, including Martin,

were aware of past settlements for violation of the FCA’s prohibition on off-label

marketing and had attended compliance training. Jackson also alleges first-hand

knowledge of Allergan encouraging off-label promotion of Viberzi. Id. at 663. Because

he was on the front-line of Allergan’s alleged illegal marketing efforts, it is plausible

that a reasonable employee in his position would know the scope of legal marketing



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and know that exceeding that scope by “aggressively market[ing] the drug to doctors

to treat patients who were not suffering from IBS-D” could violate the FCA. [Dkt. 173

¶ 293.]

          “Refusing to engage in a fraudulent scheme, which was intended and

reasonably could be expected to prevent the submission of a false claim to the

government, can constitute protected activity under the statute.” Makela 2025 WL

343464, at *3 (citing United States ex rel. Chorches for Bankr. Est. of Fabula v. Am.

Med. Response, Inc., 865 F.3d 71, 96 (2d Cir. 2017)) (cleaned up) (finding FCA

retaliation claim where relator repeatedly opposed employer’s efforts to violate

federal law and refused to participate in aiding employer in billing for services

provided in violation of federal law). Jackson’s actions qualify as an “effort[] to stop”

violations of the FCA. Halasa, 690 F.3d at 848. The same goes for Jackson’s more

informal reports to his supervisors and Allergan’s HR department. Id. at 847–48;

Sibley, 44 F.4th at 664.

      Given the Rule 8(a) standard and need to view allegations in the light most

favorable to Jackson, he has sufficiently alleged an FCA retaliation claim.

X.        Conclusion

      Allergan’s motion to dismiss is granted in part and denied in part. Relators’

FCA claim concerning Dr. Bierman and Dr. Kayal, their Tennessee Medicaid FCA

claim concerning Dr. Bierman and Dr. Kayal, their FCA conspiracy claim as to Dr.

Bierman, and Jackson’s FCA retaliation claim may all proceed. Allergan’s motion to

dismiss is otherwise granted. Relators have been afforded one prior opportunity to



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amend their complaint following adversarial testing of their claims, so dismissal of

the remaining claims is with prejudice. Zimmerman v. Bornick, 25 F.4th 491, 494

(7th Cir. 2022); Circle Block Partners, LLC v. Fireman’s Fund Insurance Company,

44 F.4th 1014, 1018 (7th Cir. 2022) (“Ordinarily, a plaintiff whose complaint is

dismissed under Rule 12(b)(6) should be given at least one opportunity to try to

amend her complaint before the entire action is dismissed.”)


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Date: April 23, 2025




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                                      Lindsay C. Jenkins




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